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                 EXHIBIT 3
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From:                                       Chabot, Ryan <Ryan.Chabot@wilmerhale.com>
Sent:                                       Friday, September 1, 2023 4:48 AM
To:                                         QE Facebook Antitrust; facebook-consumer-leads@lists.locklaw.com; FB Advertiser
                                            Counsel
Cc:                                         WH Facebook Private Antitrust Litigation Service List
Subject:                                    Klein v. Meta Platforms / Daubert Motions


                                            [EXTERNAL EMAIL from ryan.chabot@wilmerhale.com]



Counsel,

Plaintiffs’ class certification expert reports include a number of opinions that relate to issues that are squarely merits issues and not
class certification (e.g., market definition). We do not believe the Court expects—or would want to have to address—Daubert
motions on those issues at this stage, rather than at the merits stage. Please confirm that this is your understanding as well and that
neither side would argue that merits-related Daubert challenges would be waived if they are not brought now. If Plaintiffs have a
different view, we intend to seek clarification from the Court that Daubert challenges should be limited to class certification at this
stage and that Daubert challenges relating to the merits phase should be brought at the merits stage, even to the extent the experts
have offered those merits opinions in the class certification reports. Please let us know your position by COB on Tuesday,
September 5.

Thanks,
Ryan

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